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                EXHIBIT 69
              Case: 1:17-md-02804-DAP Doc #: 2379-19 Filed: 08/14/19 2 of 2. PageID #: 390321
                                                               U.S. Departn. At of Justice
                                                               Drug Enforcement Administration
                                                               Office of Training
                                                               P.O. Box 1475
                                                               Quantico, Virginia 22134-1475




                                                                   JAN I 4 2004


             Mr. Steve Mays
             Manager, Regulatory Affairs
             AmerisourceBergen
             P.O. Box 959
             Valley Forge, Pennsylvania 19482

             Dear Mr. Mays:

                 This letter is to confirm previous arrangements made by the Drug Enforcement Administration
             (DEA) Office of Training Class Coordinator Thomas_Prevoznik for a tour of the Bergen Brunswig
             facility in Richmond, Virginia, by our Diversion Investigator Trainees. I appreciate your
             cooperation, and I am certain that the visit to your distribution plant will be a valuable learning
             experience for our students.

                The visit to Bergen Brunswig is scheduled for Friday, February 27, 2004. Approximately 45
             employees participating in the tour will be arriving by bus at approximately 2 p.m., and we will
             depart your facility at approximately 4 p.m. for the return trip to Quantico, Virginia.

                Again, thank you for your cooperation and support of the DEA Office of Training.
             Mr. Prevoznik will be in contact with you regarding further arrangements. In the meantime, if you
             should have any questions, please do not hesitate to contact him at (703) 632-5217.

                                                              Sincerely,



                                                          £~:~Special Agent in Charge




                                                                                              DRUG ENFORCEMENT
                    JAN 1 6 2004                                                              ADMINISTRATION


                                                                                              Thomas W. Prevoznik
                                                                                              Course Developer / Instructor
                                                                                              Diversion Operations Unit
                                                                                                                            _,. .
                                                                           DEA Training Academy         Telephone:       /        (703) 632-5 217
                                                                           P.O. Box 1475                Fax:                      (703) 632-5258
                                                                           Quantico, VA 22134-1475      E-mail: tp•~@di'akp alzi~~
                                                                                   Diversion website:   www.d ea diversion.usdoj.gov



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